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                               SO ORDERED: July 25, 2019.




                               ______________________________
                               Robyn L. Moberly
                               United States Bankruptcy Judge




                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


    In re:                                                  Chapter 11
                           1
    USA GYMNASTICS,                                         Case No. 18-09108-RLM-11

                           Debtor.




        SECOND ORDER EXTENDING THE TIME WITHIN WHICH THE DEBTOR
           MUST ASSUME OR REJECT A CERTAIN UNEXPIRED LEASE OF
                     NONRESIDENTIAL REAL PROPERTY

             This matter came before the Court on the Debtor’s Second Motion For Order Extending

The Time Within Which The Debtor Must Assume Or Reject A Certain Unexpired Lease Of



1
 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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Nonresidential Real Property (the “Motion”), filed by USA Gymnastics as debtor and debtor in

possession (the “Debtor”), for the entry of an order pursuant to section 365(d)(4)(B)(ii) of title 11

of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”); and the Court finds

that (i) it has jurisdiction over this matter pursuant to 28 U.S.C. § 1334; (ii) this matter is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2)(A); (iii) the relief requested in the Motion is in the

best interests of the Debtor, its estate, and creditors; and after due deliberation, and good and

sufficient cause appearing therefore, the Court hereby determines the Motion should be

GRANTED.

          IT IS HEREBY ORDERED:

          1.      The Motion is granted as set forth herein.
                                                                                                        2
          2.      The period within which the Debtor must assume or reject the Headquarters Lease

is extended through and including September 30, 2019. The lessor to the Headquarters Lease

provided its prior written consent to this extension of time.

          3.      Entry of this order is without prejudice to the Debtor’s right, pursuant to section

365(d)(4)(B)(ii) of the Bankruptcy Code, to seek further extensions of the period within which the

Debtor must assume or reject unexpired leases of nonresidential real property with the prior written

consent of each lessor.

          4.      Nothing in the Motion or this order shall be deemed to be or construed as (i) an

assumption or rejection of any contract or lease pursuant to section 365 of the Bankruptcy Code,

or (ii) an admission with respect to whether any of the Debtor’s contracts or leases are unexpired

leases of nonresidential real property within the meaning of section 365(d)(4) of the Bankruptcy

Code.


2
    Capitalized terms used herein but not defined shall have the meaning given to them in the Motion.


                                                      2
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       5.      The terms and conditions of this order shall be immediately effective and

enforceable upon its entry.

       6.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this order.

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